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                                                                                              E-FILED
                                                                      Monday, 22 July, 2013 10:23:40 AM
                                                                          Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                               SPRINGFIELD DIVISION

COURTNEY WHITE,                                   )
                                                  )
                       Plaintiff,                 )
                                                  )
       v.                                         )
                                                  )
TEK-COLLECT INCORPORATED,                         )
                                                  )
                       Defendant.                 )

                                           COMPLAINT

       NOW COMES the plaintiff, COURTNEY WHITE, by and through his attorneys,

SMITHMARCO, P.C., and for his Complaint against the defendant, TEK-COLLECT

INCORPORATED, the plaintiff states as follows:

                                I.        PRELIMINARY STATEMENT

       1.      This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter “FDCPA”), 15 U.S.C. §1692, et seq.

                                    II.    JURISDICTION & VENUE

       2.      Jurisdiction arises under the FDCPA, 15 U.S.C. §1692 et seq., and pursuant to 28

U.S.C. §1331 and 28 U.S.C. §1337.

       3.      Venue is proper in this district pursuant to 28 U.S.C. §1391(b).

                                           III.       PARTIES

       4.      COURTNEY WHITE, (hereinafter, “Plaintiff”) is an individual who was at all

relevant times residing in the City of Virginia, County of Cass, State of Illinois.

       5.      The debt that Plaintiff was allegedly obligated to pay was a debt allegedly

originally owed by Plaintiff to Endress Property Management (hereinafter, “the Debt”).



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           6.    The debt that Plaintiff allegedly owed to Endress Property Management was for

unpaid rent and cleaning/damage repair costs at Plaintiff’s previous primary residence.

           7.    At all relevant times, Plaintiff was a “consumer” as that term is defined by 15

U.S.C. §1692a(3).

           8.    TEK-COLLECT INCORPORATED, (hereinafter, “Defendant”) is a business

entity engaged in the collection of debt within the State of Illinois. Defendant is incorporated in

the State of Ohio.

           9.    The principal purpose of Defendant’s business is the collection of debts allegedly

owed to third parties.

           10.   Defendant regularly collects, or attempts to collect, debts allegedly owed to third

parties.

           11.   During the course of its efforts to collect debts allegedly owed to third parties,

Defendant sends to alleged debtors bills, statements, and/or other correspondence via the mail

and/or electronic mail and initiates contact with alleged debtors via various means of

telecommunication, such as the telephone and facsimile.

           12.   At all relevant times, Defendant acted as a debt collector as that term is defined by

15 U.S.C. §1692a(6).

           13.   At all relevant times, Defendant acted through its duly authorized agents,

employees, officers, members, directors, heirs, successors, assigns, principals, trustees, sureties,

subrogees, representatives, and insurers.




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                                      IV.    ALLEGATIONS

          14.   On or about April 9, 2013, Defendant sent Plaintiff correspondence in an attempt

to collect a debt allegedly owed by Plaintiff to Endress Property Management.

          15.   The aforesaid correspondence stated that unless Defendant either received the

balance in full, or a phone call upon receipt of the correspondence by no later than April 20,

2013, Defendant would request authorization to forward the account to an attorney for legal

action.

          16.   On or about April 15, 2013, Plaintiff initiated a telephone call to Defendant and

left a voicemail message.

          17.   Plaintiff received a telephone call back from a duly authorized representative of

Defendant, who stated that he was calling to collect a debt allegedly owed by Plaintiff to Endress

Property Management.

          18.   During the course of the aforementioned telephone call between Plaintiff and

Defendant, Plaintiff informed Defendant that he wanted verification of the Debt.

          19.   During the course of the aforementioned telephone call between Plaintiff and

Defendant, Plaintiff further informed Defendant that he disputed the Debt.

          20.   In response, Defendant informed Plaintiff that he needed to contact Endress

Property Management directly in order to dispute the Debt.

          21.   Defendant’s aforesaid representation to Plaintiff, that he needed to contact

Endress Property Management directly in order to dispute the Debt, was false, deceptive, and

misleading given a consumer may dispute a debt with the directly debt collector. Moreover, it is

the debt collector’s obligation to provide the consumer with verification of the alleged debt

pursuant to section 15 U.S.C. §1692g(b).



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        22.   In its attempts to collect the debt allegedly owed by Plaintiff to Endress Property

Management, Defendant violated the FDCPA, 15 U.S.C. §1692, in one or more of the following

ways:

              a. Used false, deceptive, misleading and unfair or unconscionable means to
                 collect or attempt to collect an alleged debt in violation of 15 U.S.C. §1692e;

              b. Used any false representation or deceptive means to collect or attempt to
                 collect any debt or to obtain information concerning the consumer in violation
                 of 15 U.S.C. §1692e(10); and,

              c. Was otherwise deceptive and failed to comply with the provisions of the
                 FDCPA.

        23.   As a result of Defendant’s violations as aforesaid, Plaintiff has suffered, and

continues to suffer, personal humiliation, embarrassment, mental anguish and emotional distress.

                                     V.      JURY DEMAND

        24.   Plaintiff hereby demands a trial by jury on all issues so triable.

                                  VI.     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, COURTNEY WHITE, by and through his attorneys,

respectfully prays for Judgment to be entered in favor of Plaintiff and against Defendant as

follows:

              a.      All actual compensatory damages suffered;

              b.      Statutory damages of $1,000.00;

              c.      Plaintiff’s attorneys’ fees and costs;

              d.      Any other relief deemed appropriate by this Honorable Court.


                                                               Respectfully submitted,
                                                               COURTNEY WHITE

                                                       By:      s/ David M. Marco
                                                                Attorney for Plaintiff

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Dated: July 22, 2013

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